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                                                      U.S. Department of Justice
                                                      Civil Division


                                                                 Tel: 202-305-8648


                                       February 29, 2024


Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130-3408


RE:   Texas v. United States Department of Homeland Security, No. 23-50869

Dear Mr. Cayce:

     The government respectfully responds to Texas’s letter concerning
Department of Agriculture v. Kirtz, No. 22-846 (U.S. Feb. 8, 2024).

       In Kirtz, the Supreme Court held that the Fair Credit Reporting Act (FCRA)
waives sovereign immunity for damages claims asserting violations of that federal
statute. Contrary to Texas’s suggestion that the Court “rejected” clear-statement
rules, Letter 1 (citation omitted), Kirtz reiterated that “a waiver of sovereign
immunity must be unmistakably clear in the language of the statute,” Kirtz, slip op.
5 (quotation omitted). The Supreme Court then held that this standard was
satisfied by FCRA’s particular text, which is not at issue here.

       This case does not involve an assertion that Congress waived immunity to
suits under federal law, but rather Texas’s contention that the APA waives the
United States’s immunity to suits under the law of every state. The government
has explained that 5 U.S.C. § 702 does not apply to state-law claims at all, see
DHS Br. 25-30, and that in particular, it does not waive immunity to state tort
claims because the Federal Tort Claims Act (FTCA) “grants consent to suit”
against the United States under state tort law and “expressly or impliedly forbids
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the relief which is sought,” 5 U.S.C. § 702; see DHS Br. 30-33. Kirtz involved
neither § 702 nor state-law tort claims, and sheds no light on either.

       Texas suggests that Kirtz “rejected the idea that another federal statute” can
“impliedly preclude[] waiver.” Letter 1 (citation omitted). But while Kirtz applied
a “strong presumption” that “federal statutes touching on the same topic” can
“coexist harmoniously,” Kirtz, slip op. 20 (quotation omitted), Congress departed
from this presumption in § 702, expressly making it inapplicable where “any other
statute that grants consent to suit expressly or impliedly forbids the relief” sought.
5 U.S.C. § 702. “Congress has dealt in particularity” with state-law tort claims and
“intended a specified remedy” (damages), such that Texas “cannot use the APA to
end-run” the limitations the FTCA imposes. See Match-E-Be-Nash-She-Wish
Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 216 (2012) (quotation
omitted).


                                       Sincerely,

                                       /s/ Steven A. Myers
                                       Steven A. Myers

cc: all counsel (by ECF)
